 Case 19-10361-JKS            Doc 10-3 Filed 02/13/19 Entered 02/13/19 18:28:05      Desc
                                  Proposed Order Page 1 of 2



 UNITED STATES BANKRUPTCY COURT
 DISTRICT OF NEW JERSEY
 Caption in Compliance with D.N.J. LBR 9004-1(b)

 RAS Citron, LLC
 Authorized Agent for Secured Creditor
 130 Clinton Road, Lobby B, Suite 202
 Fairfield, NJ 07004
 Telephone: 973-575-0707
 Facsimile: 973-404-8886

 Laura Egerman, Esq. (LE-8250)

 In Re:                                               Case No.:    19-10361-JKS

 Vincent Goodman,                                     Chapter:     7

          Debtor.                                     Hearing Date: March 12, 2019

                                                      Judge:       John K. Sherwood




               Recommended Local Form:              Followed           Modified



                                      ORDER VACATING STAY

The relief set forth on the following page, is hereby ORDERED.
 Case 19-10361-JKS          Doc 10-3 Filed 02/13/19 Entered 02/13/19 18:28:05                Desc
                                Proposed Order Page 2 of 2
Page 2
Debtors:      Vincent Goodman
Case No.:     19-10361-JKS
Caption of Order: Order Vacating Stay
______________________________________________________________________________



       Upon the motion of Nationstar Mortgage LLC d/b/a Mr. Cooper (“Secured Creditor”)
under Bankruptcy Code section 362(d) for relief from the automatic stay as to certain property as
hereinafter set forth, and for cause shown, it is

       ORDERED that the automatic stay is vacated to permit the movant to institute or resume
and prosecute to conclusion one or more actions in the court(s) of appropriate jurisdiction to
pursue Secured Creditor’s rights in regard to the following:

          Real property more fully described as:

       325 East Lake Avenue, Rahway, New Jersey 07065

       It is further ORDERED that Secured Creditor, its successors or assignees, may proceed
with its rights and remedies under the terms of the subject mortgage and pursue its state court
remedies including, but not limited to, taking the property to sheriff’s sale, in addition to
potentially pursuing other loss mitigation alternatives, including, but not limited to, a loan
modification, short sale or deed-in-lieu of foreclosure.       Additionally, any purchaser of the
property at sheriff’s sale (purchaser’s assignee) may take any legal action for enforcement of its
right to possession of the property.

       It is further ORDERED that Secured Creditor may join the Debtor(s) and any trustee
appointed in this case as defendants in its action(s) irrespective of any conversion to any other
Chapter of the Bankruptcy Code.

       Secured Creditor shall serve this Order on the Debtor(s), any trustee, and any other party
who entered an appearance on the motion.




                                                                                         19-10361-JKS
                                                                                            18-133855
                                                                                    Order Vacating Stay
